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Consumer Privacy Ombudsman

                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF DELAWARE

---------------------------------------------------------------- X
                                                                 :
In re:                                                           : Chapter 7
                                                                 :
UBIOME, INC.,                                                    : Case No. 19-11938 (LSS)
                                                                 :
                           Debtor.                               :
                                                                 :
---------------------------------------------------------------- X

                     REPORT OF THE CONSUMER PRIVACY OMBUDSMAN

          Elise S. Frejka, CIPP/US, the consumer privacy ombudsman1 (the “Ombudsman”), files

this report (the “Report”)2 in the above-captioned case to assist the Bankruptcy Court in its

consideration of the facts, circumstances, and conditions of the proposed sale (the “Sale”) of

certain assets (the “Assets”) of uBiome, Inc. (the “Debtor”) to Psomagen, Inc. (the “Successful

Bidder”). This Report is intended to address any privacy concerns in connection with the Sale of

(i) a microbiome sample data base of nearly 300,000 samples, over 8,000 of which have

metadata (the “Database”), and (ii) customer accounts (the “Customer Accounts”).3



1   See Order Directing Appointment of Consumer Privacy Ombudsman [Dkt. No. 233]; Notice of Appointment of
    Consumer Privacy Ombudsman [Dkt. No. 242].
2   The Ombudsman provided an earlier draft of the recommendations contained in Report to the chapter 7 trustee
    and counsel for the chapter 7 trustee prior to the auction. As a result of the auction and the scope of the Assets to
    be transferred, the recommendations have been modified to only address the issues before the Bankruptcy Court at
    this time.
3   The Debtor’s customer lists are an excluded asset and the sale is not contemplated by the Chapter 7 Trustee at this
    time. See Asset Purchase Agreement at § 2.2.3.
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                                                 RECOMMENDATIONS

           After a review of the relevant facts and circumstances, and as more fully discussed in this

Report, the Consumer Privacy Ombudsman recommends that the Bankruptcy Court approve the

proposed Sale of Personally Identifiable Information,4 including Protected Health Information,5

that was processed from customers of the Debtor, subject to the following recommendations:

      •    All metadata in the Database should be anonymized or deidentified with each consumer
           given a unique identifier that will not lead to the identification of the consumer.
           Specifically, all names, addresses, electronic addresses, phone numbers, credit
           card/banking information and other identifying characteristics should be removed prior to
           any transfer. Metadata that may be useful to the Successful Bidder such as geographical
           region or zip code, race, ethnicity and medical conditions may be transferred to preserve



4   Personally Identifiable Information means information—
      (A) if provided by an individual to the debtor in connection with obtaining a product or a service from the
      debtor primarily for personal, family, or household purposes—
          (i) the first name (or initial) and last name of such individual, whether given at birth or time of adoption,
                or resulting from a lawful change of name;
          (ii) the geographical address or a physical place of residence of such individual;
          (iii) an electronic address (including an e-mail address) of such individual;
          (iv) a telephone number dedicated to contacting such individual at such physical place of residence;
          (v) a social security account number issued to such individual; or
          (vi) the account number of a credit card issued to such individual; or
      (B) if identified in connection with 1 or more of the items of information specified in subparagraph (A)—
          (i) a birth date, the number of a certificate of birth or adoption, or a place of birth;
               or
          (ii) any other information concerning an identified individual that, if disclosed, will result in contacting or
               identifying such individual physically or electronically.
    11 U.S.C. § 101(41A)
5   Protected Health Information is a subset of individually identifiable health information, each as defined under the
    Health Insurance Portability and Accountability Act of 1996 (“HIPAA”) (Pub. L. 104-191) and are entitled to
    heightened privacy protections.
    The privacy of a consumer’s individually identifiable health information is regulated by HIPAA, the Health
    Information Technology for Economic and Clinical Health Act (“HITECH Act”), 45 C.F.R. § 164.504, and
    various regulations promulgated under those laws, including the Modifications to the HIPAA Privacy, Security,
    Enforcement, and Breach Notification Rules under the Health Information Technology for Economic and Clinical
    Health Act and the Genetic Information Nondiscrimination Act; Other Modifications to the HIPAA Rules (the
    “Omnibus Rule”), 78 Fed. Reg. 5566 (Jan. 25, 2013). The term Protected Health Information is defined in the
    Privacy Rule issued under HIPAA to mean any health information that identifies, or reasonably could be used to
    identify, an individual, and that relates to physical or mental health or condition of the individual, the provision of
    health care to the individual, or the payment for the provision of health care to the individual, in each case if
    maintained or transmitted by a healthcare provider or other “Covered Entity,” other than certain limited
    exceptions. 45 C.F.R. § 160.103.



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          the integrity of the Database but only if stripped of Personally Identifiable Information.

      •   Unless a consumer has affirmatively consented to the sale or transfer to the Successful
          Bidder of Personally Identifiable Information or the Debtor was a “Covered Entity”
          subject to HIPAA, the Chapter 7 Trustee should not be permitted to transfer Customer
          Accounts. If both the Debtor and the Successful Bidder are deemed to be a “Covered
          Entity” under HIPAA, the transfer of Customer Accounts is permitted by operation of
          law. Otherwise, if the Successful Bidder intends to continue to offer for sale the
          “Explorer,” “SmartGut,” and “SmartJane” products or similar competing products, the
          Successful Bidder may engage a third party acceptable to the Chapter 7 Trustee to solicit
          by email such consumer consent to the transfer on an opt-in6 basis and if such consumer
          consent is obtained, the specific Customer Account may be transferred to the Successful
          Bidder. Any solicitation period should be concluded within forty-five (45) days of the
          entry of any order approving the Sale. Otherwise, all Customer Accounts not subject to a
          litigation hold should be closed and deleted by the Chapter 7 Trustee in a manner
          consistent with industry standard data security protections and applicable information
          security laws and best practices within ninety (90) days of the closing of any Sale (the
          “Closing”).

      •   If the Successful Bidder acquires any Personally Identifiable Information as part of the
          Sale, the Successful Bidder should agree to (i) become the successor-in-interest under the
          Debtor’s privacy policy that was in effect on the Petition Date or on terms that are at least
          as protective of consumer privacy; (ii) adhere to all material terms of the Privacy Policy;
          and (iii) be liable for any violation of the Privacy Policy after the closing of the Sale.

      •   Except for Customer Accounts that may be subject to litigation holds, which information
          should be retained by the Chapter 7 Trustee, through the conclusion of such litigation and
          thereafter destroyed, the Chapter 7 Trustee should (i) destroy or cause to be destroyed
          within sixty (60) days of the Closing, in a manner consistent with industry standard data
          security protections and applicable information security laws and best practices, all
          Personally Identifiable Information that is transferred to the Successful Bidder, and (ii)
          file a Certificate of Destruction with the Bankruptcy Court confirming such destruction.

      •   If the Successful Bidder acquires any Personally Identifiable Information as part of the
          Sale, the Successful Bidder should agree that prior to making any material change to the
          Privacy Policy, including any changes to the use or disclosure of Personally Identifiable
          Information or Protected Health Information, the Successful Bidder will, to the extent
          required by applicable law: (i) provide consumers with notice of the proposed change; (ii)
          direct consumers to the Successful Bidder’s privacy policy; and (iii) provide each
          consumer with the opportunity to opt-out to the proposed change to the privacy policy
          with any such modifications only being binding on those consumers who do not opt-out.

      •   If the Successful Bidder acquires any Personally Identifiable Information as part of the
          Sale, the Successful Bidder should agree to safeguard all Personally Identifiable

6   “Opt-in” consent requires affirmative steps by a consumer to allow the collection and/or use of information; “opt-
    out” consent requires affirmative steps by a consumer to prevent the collection and/or use of information.



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       Information in a manner consistent with industry standard data security protections and
       applicable information security laws and best practices.

   •   If the Successful Bidder acquires any Personally Identifiable Information as part of the
       Sale, the Successful Bidder should agree to destroy all Personally Identifiable
       Information for which it determines it has no reasonable business need.

   •   If the Successful Bidder acquires any Personally Identifiable Information as part of the
       Sale, the Successful Bidder should agree to file a notice with the Bankruptcy Court
       within ninety (90) days after the Closing, (i) stating that it is in compliance with the
       foregoing provisions, and (ii) certifying that it will comply with any ongoing obligations
       in accordance with these provisions.

   The Ombudsman believes these recommendations adequately address the transfer of

Personally Identifiable Information in a manner that protects consumers’ Personally Identifiable

Information while facilitating the Sale for the benefit of the Debtor’s estate. Moreover, the

proposed limitations and notification procedures give effect to the Debtor’s privacy policy, align

with consumer expectations, and are consistent with best practices.

                                          BACKGROUND

       1.      On September 4, 2019 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the

United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”), thereby

commencing this case (the “Case”).

       2.      On September 11, 2019, the Debtor filed a motion to establish bid procedures and

to conduct a sale process [Dkt. No. 56]. On September 30, 2019, the Debtor filed a revised bid

procedures order under certification of counsel [Dkt. No. 123] but that order was never entered

due to the pending motion to convert the Case to a case under chapter 7 of the Bankruptcy Code.

       3.      On October 11, 2019, the Bankruptcy Court entered an order converting this Case

to a case under chapter 7 [Dkt. No. 162], and Alfred T. Giuliano was appointed as the chapter 7

trustee (the “Chapter 7 Trustee”) [Dkt. No. 163].



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       4.     On November 12, 2019, the Chapter 7 Trustee filed the Motion of Alfred T.

Giuliano, Chapter 7 Trustee, for Entry of: (A) an Order (I) Approving Bid Procedures in

Connection with the Sale of the Debtor’s Assets, (II) Scheduling an Auction for and Hearing to

Approve Sale, (III) Approving Notice of Auction and Sale Hearing, (IV) Approving Procedures

for the Assumption and Assignment of Certain Executory Contracts and Unexpired Leases, (V)

Approving Form and Manner of Notice Thereof, and (VI) Granting Related Relief; and (B) an

Order Authorizing and Approving (I) the Sale of the Debtor’s Assets Free and Clear of Liens,

Claims, Rights, Encumbrances, and Other Interests, (II) Assumption and Assignment of Certain

Executory Contracts and Unexpired Leases and (III) Related Relief ) (the “Sale Motion”) [Dkt.

No. 198].

       5.     The Bankruptcy Court entered the Order (I) Approving Bid Procedures in

Connection with the Sale of the Debtor’s Assets, (II) Scheduling an Auction for and Hearing to

Approve Sale, (III) Approving Notice of Auction and Sale Hearing, (IV) Approving Procedures

for the Assumption and Assignment of Certain Executory Contracts and Unexpired Leases, (V)

Approving Form and Manner of Notice Thereof, and (VI) Granting Related Relief on November

21, 2019 (the “Bid Procedures Order”) [Dkt. No. 212].

       6.     The Chapter 7 Trustee filed the Notice of Extended Sale Deadlines and New

Auction Date [Dkt. No. 241] on December 9, 2019.

       7.     On December 15, 2019, the Chapter 7 Trustee filed the Notice of Selection of

Stalking Horse and Filing of Related Asset Purchase Agreement [Dkt. No. 247] and attached the

Asset Purchase Agreement between the Successful Bidder and the Chapter 7 Trustee dated

December 13, 2019 (the “Asset Purchase Agreement”).




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       8.      The Chapter 7 Trustee conducted an auction on December 16, 2019 and selected

the Successful Bidder as the highest and best bidder for the Debtor’s Assets.

       9.      The Successful Bidder will acquire, as relevant to this Report, the Database on an

aggregated and anonymous basis in a manner that is consistent with the Ombudsman’s

recommendations. See Asset Purchase Agreement at §§ 2.1.4. (“all anonymous data,

compilations of anonymous data and other results and all related Intellectual Property resulting

from the Explorer, Explorer Plus, Smart Gut, and Smart Jane and any other diagnostic kits, sold,

developed or controlled by the Debtor other than data that is prohibited from transfer and/or

disclosure pursuant to applicable law, including HIPAA.”)

       10.     The Successful Bidder will also acquire the Debtor’s “Records” which is defined

in the Asset Purchase Agreement “… as either original or copies of the assignments, books,

records, information, ledgers, files, invoices, documents, work papers, correspondence, plans

(whether written, electronic or in any other medium), drawings, designs, specifications, creative

materials, advertising and promotional materials, marketing plans, studies, reports, data and

similar materials related to the Acquired Assets and specifically excluding files and papers (i)

not otherwise relating to the Acquired Assets and (ii) the disclosure of which would violate

applicable law, including HIPAA.” See Asset Purchase Agreement at § 1.1.53 (emphasis added).

To the extent the Records include the Customer Accounts it is the Ombudsman’s

recommendation that affirmative opt-in consent be obtained prior to any such transfer.

       11.     The Bankruptcy Court will consider the Sale at a hearing on December 19, 2019.




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          REVIEW OF THE DEBTOR’S PRIVACY POLICY AND PRACTICES

       12.     In performing her duties, the Ombudsman has relied upon and reviewed, among

other things, the following:

               a.      The Debtor’s (i) privacy policy in effect on the Petition Date; (ii) the
                       Debtor’s prior privacy policy; (iii) the Terms of Service; and (iv) template
                       Research Consent (all available at www.waybackmachine.com);

               b.      Telephone interviews, discussions, and emails with (i) the Trustee; (ii)
                       counsel for the Trustee; and (iii) a former employee of the Debtor familiar
                       with the Debtor’s privacy policy and data collection;

               c.      The Sale Motion, the Bidding Procedures Order, and the Asset Purchase
                       Agreement;

               d.      The Debtor’s privacy practices and collection procedures concerning
                       Personally Identifiable Information, including the Debtor’s database
                       maintenance procedures for Personally Identifiable Information, and the
                       Debtor’s procedures for the sharing and use of such information;

               e.      Research and review of case law, commentaries, and court orders from
                       bankruptcy cases involving the sale of Personally Identifiable Information
                       and Protected Health Information;

               f.      Public filings by the Debtor; and

               g.      Applicable United States federal and state privacy laws, regulations,
                       enforcement actions, guidance and industry best practices.

       INFORMATION COLLECTED AND THE DEBTOR’S PRIVACY POLICY

       13.     The facts in this Report are based solely upon the Ombudsman’s information and

belief, based upon her discussions with the Chapter 7 Trustee and his counsel, and historical

information in the public domain.

       14.     The Debtor, using advanced DNA sequencing and utilizing the world’s largest

microbiome database, offered a variety of products to patients and consumers to analyze the

DNA of their microbiomes, including “Explorer,” “SmartGut,” and “SmartJane”. A more

complete history of the Debtor’s business is set forth in the Declaration of Curtis G. Solsvig III

in Support of the Debtor’s Chapter 11 Petition and Requests for First Day Relief [Dkt. No. 2].


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          15.        The Debtor’s privacy policy (the “Privacy Policy”) previously available at

www.ubiome.com was last revised on May 23, 2018 and governs the Debtor’s collection,

storage, use and disclosure of consumer’s personal information. The Privacy Policy does not

contain a provision regarding the sale or transfer of Personally Identifiable Information but does

explain that Personally Identifiable Information is shared with:

                •    Service providers

                        o We work with third party vendors, consultants and other providers
                          that perform services on our behalf, which may include backup,
                          storage, infrastructure, payment processing, identifying and
                          serving targeted content, or analytics services.

                •    Research affiliates

                        o If you have given consent for your information to be used in
                          research as described in the Research Consent document, 7 we may
                          share your information for research, such as for the purpose of
                          publication in a peer-reviewed scientific journal.

                •    Compliance with enforcement requests and applicable laws;
                     Enforcement of our rights

                        o We may share information as required to satisfy any applicable
                          law, regulation, court order, legal process or other governmental
                          request, to enforce our Terms of Service (including the
                          investigation of potential violations thereof), or to investigate and
                          defend ourselves against any third party claims or allegations.

                •    Links to third party websites

                        o Our Service may contain links to and from third party websites of
                          our business partners. If you follow a link to any of these
                          websites, please note that these websites have their own privacy
                          policies and that we do not accept any responsibility or liability for
                          these policies. Please check the individual policies before you
                          submit any information to those websites.




7   The Research Consent promises consumers that only pooled data striped of identifying information is shared with
    third parties and that explicit authorization is required prior to the Debtor’s release of individual level data to a
    third party.



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                 •    Aggregated data

                         o We may share information in an aggregated and anonymous form
                           that does not identify you directly as an individual.

See Privacy Policy attached here as Exhibit A.

           16.        Based upon the foregoing, it is clear that Debtor did not provide consumers with

notice that their Personally Identifiable Information could be sold to a third party or shared on an

individual level basis. Moreover, it is unclear if the Debtor was a “Covered Entity” subject to

HIPAA with respect to Protected Health Information that was collected 8 and given the sensitive

nature of the information collected from consumers, more stringent scrutiny is appropriate prior

to approving any sale of Personally Identifiable Information.

                                                            ANALYSIS

           17.        Section 363(b)(1) of the Bankruptcy Code governs a debtor’s ability to “use, sell,

or lease” Personally Identifiable Information. Generally, a debtor may not sell or lease Personally

Identifiable Information if, at the time of the commencement of a bankruptcy case, the debtor’s

privacy policy prohibits the transfer of Personally Identifiable Information to unaffiliated

entities.9 Notwithstanding this general prohibition, a sale is permitted, pursuant to section

363(b)(1)(B) of the Bankruptcy Code, if:

                              after the appointment of a consumer privacy ombudsman,
                              the court approves the sale (i) giving consideration to the
                              facts, circumstances, and conditions of the sale and (ii)
                              finding that no showing was made that the sale would
                              violate applicable nonbankruptcy law. 10



8    See Debtor’s Motion for Entry of an Order Authorizing Certain Procedures to Maintain the Confidentiality of
     Patient Information as Required by Applicable Privacy Rules [Dkt. No. 11] (“Because the Debtor may qualify as a
     health care provider which transmits health information electronically, it may quality as a ‘covered entity’ subject
     to HIPAA.”)
9    See 11 U.S.C. § 363(b)(1).
10   See 11 U.S.C. § 363(b)(1)(B).



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       18.     Here, the Privacy Policy is silent on the Debtors’ ability to sell or transfer

Personally Identifiable Information to a third party and the Trustee does not have adequate

information to assist the Ombudsman in determining what consumer consent was given at the

time of collection. In light of the sensitive and personal nature of the individual level

information provided by consumers to the Debtor at the time of collection, the Ombudsman

recommends that to the extent the Successful Bidder intends to acquire the Customer Accounts,

it is appropriate to obtain affirmative opt-in consent prior to such transfer in the manner set forth

in this Report. The solicitation of consumer consent may limit the number of Customer

Accounts transferred but it will ensure that the individual level information is transferred with

the express consent of the consumer. Obtaining such consent is consistent with the Debtor’s

Privacy Policy.

       19.     No consumer consent must be obtained, or notice given with respect to the sale of

the Database. The Asset Purchase Agreement makes clear that the Database will be transferred

to the Successful Bidder stripped of all metadata and other Personally Identifiable Information.

As such, the Database contains no Personally Identifiable Information and can be transferred

without limitation.




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                                          CONCLUSION

       20.     In summary, the Ombudsman believes that the recommendations in this Report, if

adopted and incorporated into the Sale, strike an appropriate balance between the privacy rights

of consumers and practical considerations associated with the sale of Personally Identifiable

Information. To the extent the defined term Records (as defined in the Asset Purchase

Agreement at Section 1.1.53) includes Customer Accounts that are not anonymized, then the

“opt-in” procedure described in this Report should be followed; to the extent the term Records

does not include the Customer Accounts or the term Records does include Customer Accounts

that will be anonymized, the Sale as proposed does not violate the Privacy Policy, and the

Ombudsman has no objection to the Sale.

       21.     The Ombudsman will be available at the Sale Hearing to address any questions or

concerns from the Bankruptcy Court.

Dated: New York, New York
       December 17, 2019

                             ELISE S. FREJKA, CIPP/US



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                             Consumer Privacy Ombudsman




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                                          EXHIBIT A



                                          uBiome, Inc.
                                        PRIVACY POLICY

uBiome, Inc. (“uBiome,” “we” or “us”) is committed to protecting your privacy. This Privacy
Policy explains how information about you or associated with you is collected, used and
shared by uBiome.

This Privacy Policy applies to our websites, microbiome analysis services and other services
and applications we may provide (collectively, our “Service”).

By accessing or using our service, you signify that you have read, understood and agree to our
collection, storage, use and disclosure of your personal information as described in this Privacy
Policy. If you do not agree with this policy, do not access or use our Service or interact with any
other aspect of our business.

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INFORMATION WE COLLECT

We collect information about you when you provide it to us, when you use our Service, and
when other sources provide it to us, as described below.

   ●   Information you provide
           ○ We may collect information you enter in our Service or provide to us in some
             other manner, including your name, email address, password, physical address,
             and billing information.
           ○ We may collect any communications between you and us, as well as any
             additional information you provide.

   ●   Information we collect automatically when you use our Service
           ○ Cookies and Other Tracking Technologies
                 ■ We automatically collect certain types of usage information when you visit
                    our website or use our Service. When you visit our website, we may send
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                     one or more cookies - a small text file containing a string of alphanumeric
                     characters - to your computer that uniquely identifies your browser.

                        ●   A cookie may convey information to us about how you use our
                            Service (for example, the pages you view, the links you click, how
                            frequently you access our Service, and other actions you take on
                            our Service), and allow us to track your usage of our Service over
                            time.

                 ■   We may employ clear gifs (also known as web beacons) which are used
                     to anonymously track the online usage patterns of our users. In addition,
                     we may also use clear gifs in HTML-based emails sent to our users to
                     track which emails are opened and which links are clicked by recipients.
                     The information allows for more accurate reporting and improvement of
                     our Service.

         ○    Device and Connection Information
                 ■ We may collect log file information from your browser or mobile device
                     each time you access our Service. Log file information may include
                     Internet Protocol (“IP”) address, browser type, information about your
                     mobile device, referring / exit pages and URLs, number of clicks and how
                     you interact with links on our Service, domain names, landing pages,
                     pages viewed.

                 ■   When you access our Service by or through a mobile device, we may
                     collect and store unique identification numbers associated with your
                     device or our mobile application, mobile carrier, device type, model and
                     manufacturer, mobile device operating system brand and model, and
                     phone number.

  ●   Information collected through the use of our Service
          ○ Information you provide through the use of our Service such as self-reported
            information and microbiome data.

  ●   Information we receive from third parties
          ○ We may receive information about you and your activities on and off our Service
            from public sources and third-party partners, such as advertising and market
            research partners who provide us with information about your interest in, and
            engagement with, our Service and online advertisements.



HOW WE USE INFORMATION WE COLLECT
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   ●   To provide our Service
          ○ We use information about you to provide our Service to you, including to process
             transactions with you, authenticate you when you log in, provide customer
             support, and to monitor, operate and maintain our Service.

   ●   To communicate with you
          ○ We may send you Service-related emails or messages that may contain personal
             information (for example account verification, change or updates to features,
             technical and security notices).
          ○ Please be aware that communications via email over the internet are not
             encrypted. Although unlikely, there is a possibility that information in an email can
             be intercepted and read by other parties besides the person to whom it is
             addressed. If you have concerns about the use of email, you may contact us as
             provided in the Contacting Us section to request assistance.

   ●   To market, promote, and drive engagement with our Service
          ○ We may use your information to help us measure traffic and usage trends for our
             Service, to understand more about the demographics of our users, and to provide
             custom, personalized content and information, including targeted content and
             advertising for other uBiome products.

   ●   For research and development
          ○ If you have given consent for your information to be used in research as
              described in the Research Consent document, we may use your Information for
              research purposes to improve our Service.



HOW WE SHARE INFORMATION WE COLLECT

We share information about you with third parties that help us operate, provide, improve,
integrate, customize, support, and market our Service.

   ●   Service providers
          ○ We work with third party vendors, consultants and other providers that perform
             services on our behalf, which may include backup, storage, infrastructure,
             payment processing, identifying and serving targeted content, or analytics
             services.

   ●   Research affiliates
          ○ If you have given consent for your information to be used in research as
             described in the Research Consent document, we may share your information for
             research, such as for the purpose of publication in a peer-reviewed scientific
             journal.
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  ●   Compliance with enforcement requests and applicable laws; Enforcement of our
      rights
          ○ We may share information as required to satisfy any applicable law, regulation,
             court order, legal process or other government request, to enforce our Terms of
             Service (including the investigation of potential violations thereof), or to
             investigate and defend ourselves against any third party claims or allegations.

  ●   Links to third party websites
         ○ Our Service may contain links to and from third party websites of our business
             partners. If you follow a link to any of these websites, please note that these
             websites have their own privacy policies and that we do not accept any
             responsibility or liability for their policies. Please check the individual policies
             before you submit any information to those websites.

  ●   Aggregated data
        ○ We may share information in an aggregated and anonymous form that does not
            identify you directly as an individual.



STORAGE AND SECURITY OF INFORMATION

  ●   Storage and international transfers of your information
         ○ Your information collected through the Service may be stored and processed in
            the United States or another country in which uBiome, our affiliates, or service
            providers maintain facilities.

         ○    We may transfer information to a country and jurisdiction that does not have the
              same data protection laws as your jurisdiction, and you consent to the transfer of
              your information to the U.S. or any other country in which uBiome, our affiliates,
              or service providers maintain facilities and the use of your information as
              described in this Privacy Policy.

  ●   Security of your information
         ○ We take reasonable physical, administrative, and technological safeguards to
             preserve the integrity and security of your information. However, no security
             system is impenetrable and we cannot guarantee that your information is
             completely safe from intrusion.

         ○    In the event that any information under our control is compromised as a result of
              a breach of security, we will take reasonable steps to investigate the situation
              and where appropriate, notify those individuals whose information may have
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                been compromised and take other steps in accordance with any applicable laws
                and regulations.

   ●   How long we keep your information
         ○ We will retain your information for as long as your account is active or as needed
             to provide you our Service. We also retain some of your information as necessary
             to comply with our legal obligations, to resolve disputes, to enforce our
             agreements, to support business operations and to continue to develop and
             improve our Service.

           ○    Where we retain information for improvement and development of our Service,
                we take steps to eliminate information that directly identifies you as an individual.

           ○    We retain information about your marketing preferences unless you specifically
                ask us to delete such information. We retain information derived from cookies
                and other tracking technologies for a reasonable period of time from the date
                such information was created.

   ●   Persons under the age of 13
          ○ Our Service and its content are not directed at children under the age of 13. In
             the event that we learn that we have collected information from a child under age
             13 without parental consent, we will take steps to delete such information.

           ○    If you believe that we might have any information collected from a child under 13,
                please contact us as provided in the Contacting Us section.



YOUR CHOICES REGARDING YOUR INFORMATION

You have certain choices available to you when it comes to your information, as stated below.
You may contact us as provided in the Contacting Us section to request assistance.

   ●   Access and update your information
          ○ You may access and update to your information. For example, you can access
             your profile information from your account and modify content using the editing
             tools associated with that content.

   ●   Delete your information
          ○ You may request that we delete or anonymize certain information about you.
              Please note, however, that we may need to retain certain information for record
              keeping purposes, to complete transactions or to comply with our legal
              obligations.
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   ●   Request that we stop using your information
          ○ You may ask us to stop accessing, storing, using and otherwise processing your
            information where you believe we don't have the appropriate rights to do so. For
            example, if you believe a Services account was created for you without your
            permission or you are no longer an active user, you can request that we delete
            your account as provided in this policy.

           ○    Where you gave us consent to use your information for a limited purpose, you
                may withdraw that consent, but this will not affect any processing that has
                already taken place at the time. You can also opt-out of our use of your
                information for marketing purposes.

   ●   Opt out of communications
          ○ You may opt out of receiving promotional communications from us and to have
             your contact information removed from our promotional email list or database.

   ●   "Do Not Track" Signals
          ○ Some browsers have "Do Not Track" (DNT) features that can send a signal to the
             websites you visit indicating you do not wish to be tracked. Because there is not
             yet a common understanding of how to interpret the DNT signal, our Service do
             not currently respond to browser DNT signals.

   ●   Copy of your information
         ○ Upon your request, we will provide you or a third party that you designate with an
             file of your basic account information in a structured, electronic format.

Your request and choices may be limited in certain cases: for example, if fulfilling your request
would reveal information about another person, or if you ask to delete information which we are
permitted by law or have compelling legitimate interests to keep.

Where you have asked us to share data with third parties, for example, you will need to contact
those third-party service providers directly to have your information deleted or otherwise
restricted.

If you have unresolved concerns, you may have the right to complain to a data protection
authority in the country where you live, where you work or where you feel your rights were
infringed.

For uses and disclosures of Protected Health Information (“PHI”) please consult our Notification
of Privacy Practices.



UPDATES TO OUR PRIVACY POLICY
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We may modify this Privacy Policy from time to time. If we make any changes to this Policy, we
will change the "Last Revision" date below and will post the updated Privacy Policy on this page.

If you object to any changes to this Policy, you may close your account. Continuing to use our
Service after we publish changes to this Privacy Policy means that you are consenting
to the changes.



CONTACTING US

If you have questions about this Privacy Policy, please contact us at
privacyofficer@ubiome.com
or by writing to us at:

uBiome, Inc.
Attn: Privacy Officer
180 Steuart Street, San Francisco, CA 94105

When contacting us, please include sufficient information for us to identify all of your records,
such as your name, address, and a telephone number where we can contact you. uBiome will
consider your request and provide you a response within a reasonable timeframe.



LAST REVISION DATE

This Privacy Policy was last revised on May 23, 2018, and is effective as of May 25, 2018.
